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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                       PLAINTIFF

                     v.                No. 2:02CR20052-001

JIMMY DON RELEFORD                                                             DEFENDANT



                                             ORDER

        At the detention hearing held this date, the court, after hearing testimony and after being well

and sufficiently advised, detained the defendant and directed that the defendant be remanded to the

custody of the U.S. Marshal’s Service. The Defendant is detained pending hearing set for July 13,

2010.

               SO ORDERED this 17th day of June, 2010.


                                               /s/ J. Marschewski
                                               HONORABLE JAMES R. MARSCHEWSKI
                                               UNITED STATES MAGISTRATE JUDGE
